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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
In Re:                                                                ADMINISTRATIVE ORDER
Requests to File Documents Under Seal in Criminal                           NO. 2025-09
Cases
-----------------------------------------------------------------X

        Until further notice, pursuant to Local Civil Rule 5.2, incorporated into the Local
Criminal Rules, documents filed under seal in criminal cases are exempted from ECF filing and
are to be filed pursuant to the following procedures.

       Parties may submit documents to be filed under seal in criminal cases either: (1) via hard
copy to the Clerk’s Office; or (2) in a password-protected PDF emailed to the presiding judge’s
courtroom deputy, with the password sent via separate email to the courtroom deputy. The
document will be deemed filed when the document is delivered to the Clerk’s Office, as per the
Clerk’s Office time-stamp, or when the document is emailed to the courtroom deputy.


                                                             SO ORDERED:

Dated: July 11, 2025
       Brooklyn, New York

                                                                   s/ MKB
                                                             MARGO K. BRODIE
                                                             Chief United States District Judge
